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    8
                              UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
                                   SOUTHERN DIVISION
   10

   11        VINCENT ZINNI, on behalf of himself
             and those similarly situated,
   12

   13                             Plaintiff,          Case No. 8:15-cv-00863-JLS-JCG
                        v.
   14                                       SUPPLEMENTAL MEMORANDUM
   15        CLICKSOFTWARE TECHNOLOGIES OF POINTS AND AUTHORITIES IN
             LTD., ISRAEL BOROVICH, MOSHE FURTHER SUPPORT OF
   16        BENBASSAT, SHAI BEILIS, NIRA   PLAINTIFF’S MOTION FOR
   17        DROR, SHLOMO NASS, MENAHEM VOLUNTARY DISMISSAL
             SHALGI, GIL WEISER, FRANCISCO
   18        PARTNERS LP, OPTIMIZER TOPCO Date: May 13, 2016
   19        S.A.R.L., and OPTIMIZER MERGER Time: 2:30 PM
             HOLDINGS LTD.,                 Place: Courtroom 10A
   20

   21                             Defendants.
   22

   23
        I.       INTRODUCTION
   24
                 Pursuant to this Court’s Order of April 19, 2016, requesting a supplemental
   25
        brief to be filed no later than Friday, May 6, 2016, in connection with Plaintiff’s
   26
        Motion for Voluntary Dismissal (the “Order”), Plaintiff submits this memorandum
   27
        of law identifying “decisions wherein a court approved the payment of attorneys’
   28                                        1
             SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES IN FURTHER
                  SUPPORT OF PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL
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    1 fees by defendant to plaintiff’s counsel where there was a voluntary dismissal of

    2 class claims without prejudice, a voluntary dismissal with prejudice of plaintiff’s

    3 individual claims, and plaintiff obtained no recovery.” Order, at 1.

    4             Plaintiff seeks reimbursement of attorneys’ fees and expenses for his mooted
    5 claims and Defendants do not oppose the reimbursement of modest attorneys’ fees

    6 and costs to Faruqi & Faruqi, LLP in the amount of $67,500.00 and to Brodsky &

    7 Smith, LLC in the amount of $67,500.00.

    8 II.         DECISIONS MEETING THE COURT’S FOUR REQUIREMENTS
    9             The Order requests that Plaintiff identify decisions1 that meet four
   10 requirements:

   11             1)        wherein a court approved the payment of attorneys’ fees by
                            defendant to plaintiff’s counsel;
   12
                  2)        where there was a voluntary dismissal of class claims without
   13                       prejudice;
   14             3)        a voluntary dismissal with prejudice of plaintiff’s individual claims;
   15             4)        and plaintiff obtained no recovery.2
   16 Plaintiff has identified one California decision and three Delaware decisions meeting

   17 these requirements (the “Four Requirements”) all of which were within the past 15

   18 months. These decisions are discussed below.

   19

   20

   21

   22   1
             In the context of awards of mootness fees in M&A litigation, the court dockets usually end with
      the plaintiff filing a motion to dismiss for mootness with an agreed upon amount of attorneys’ fees,
   23 a reference to the supplemental disclosure which was the result of plaintiff’s litigation efforts, and
      a court order. For the sake of brevity, these various filings combined are referred to herein as
   24
      decisions.
   25 2
         In the Delaware decisions, plaintiffs obtained no monetary recovery, but did obtain supplemental
   26 disclosures. In the California action, there was a price bump post-complaint but defendants denied
      the price bump had anything to do with plaintiffs’ litigation. Defendants conceded, however, that
   27 the cause of the supplemental disclosures in that action, described infra, was “[i]n connection with
      certain litigation.”  
   28                                                    2
           SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES IN FURTHER
                  SUPPORT OF PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL
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    1         A.     California Decision
    2         In In re Integrated Silicon Solution, Inc. Stockholder Litig., (“ISS”), Lead
    3 Case No. 115CV278815 (Santa Clara, CA Sept. 24, 2015) (Hon. Peter H. Kirwan),

    4 the Order states that the “action is dismissed with prejudice as to Plaintiffs” and the

    5 action is “dismissed as to the class without prejudice” thus meeting requirements 2

    6 and 3 above. See Order Granting Plaintiffs’ Request For Dismissal and Request for

    7 Dismissal, at 2 (the “ISS Order”), a true and correct copy of which is attached to the

    8 Declaration of Evan J. Smith in Further Support of Plaintiff’s Motion for Voluntary
                                                         3
    9 Dismissal (hereinafter “Smith Decl.") at Exhibit A. The Declaration of David E.

   10 Bower in Support of Plaintiffs’ Request For Dismissal, dated Sept. 18, 2015, in the

   11
        same action shows, at ¶ 27, that the ISS Order awarded an agreed upon sum of
        $1,500,000 to Plaintiffs’ counsel for fees and expenses (thus meeting Requirement
   12
        1). Id. As to Requirement 4 (no recovery), there was a price bump post-complaint
   13
        but defendants denied the price bump had anything to do with the litigation.
   14
        Defendants conceded, however, that the cause of the supplemental disclosures in
   15
        that action was “[i]n connection with certain litigation.” See the ISS Supplemental
   16
        Disclosures, filed as Amendment No. 3 to the Schedule 14A, on June 17, 2015. Id.
   17
              B.     Delaware Decisions
   18
              Identified below are three decisions from the Delaware Court of Chancery that
   19
        meet each of the Four Requirements.            All the decisions were decided within
   20 approximately the last year. Mootness attorneys’ fees awarded for supplemental

   21 disclosures range from $450,000 to $750,000.

   22         1.     In re DFC Global Corp. Shareholders Litig., Consolidated, C.A. No.
   23 9520-CB (Del. Ch. March 27, 2015) pursuant to the “Granted Stipulation and

   24 [Proposed] Order Closing Case” dated, March 27, 2015 (the “DCF Order”), the

   25 action was dismissed “with prejudice only to plaintiffs individually and without

   26
        3
         Exhibits referred to in this Supplemental Memorandum are attached to the Declaration of Evan
   27 J. Smith in Further Support of Plaintiff’s Motion for Voluntary Dismissal, filed
      contemporaneously herewith.  
   28                                                 3
          SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES IN FURTHER
                  SUPPORT OF PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL
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    1 prejudice [to the class]” meeting Requirements 2 and 3. A true and correct copy of

    2 this granted Stipulation and Order is attached to the Smith Decl. at Exhibit B. The

    3 Notice to Stockholders referenced in the DCF Order shows fees of $750,000 were

    4 awarded and refers to supplemental disclosures filed with the SEC on May 28, 2014,

    5 but no price bump or other monetary benefit was obtained. Id. Thus, all Four
        Requirements were met.
    6
              2.    In re Office Depot, Inc. Stockholders Litig., Consolidated, C.A. No.
    7
        10655-CB, the “Granted Stipulation and Order Regarding Dismissal of the Above-
    8
        Captioned Action with Exhibit A,” dated Nov. 2, 2015, (the “Office Depot Order”),
    9
        awarded attorneys’ fees and shows the supplemental disclosures that were made. A
   10
        true and correct copy of which is attached to the Smith Decl. at Exhibit C. The
   11
        “Granted with Modifications Stipulation and Order Regarding Payment of
   12
        Attorney’s Fees and Expenses,” dated Oct. 27, 2015, shows that the amount of fees
   13
        awarded was $500,000. Id. The Office Depot Order shows supplemental disclosures
   14 were filed with the SEC and also refers to the court “dismissing the action with

   15 prejudice only as to plaintiffs.”    (Emphasis added). Id. Thus, all of the Four
   16 Requirements were met.

   17         3.    Mootness attorneys’ fees of $450,000 were awarded in Cohen v.
   18 Malone [Liberty Broadband], C.A. No. 11416-VCG, pursuant to an order entitled

   19 “Granted Stipulation of Dismissal,” dated January 25, 2016 and another order

   20 entitled “Granted Stipulation and Order Regarding Notice of Dismissal,” dated

   21 January 11, 2016. A true and correct copy of which is attached to the Smith Decl.

   22 at Exhibit D. Although brought as a class action, the order states that plaintiffs were

   23 “dismissing the action with prejudice only as to plaintiffs.”      Id. Supplemental

   24
        disclosures were contained in a September 11, 2015 Proxy Statement. Thus, all Four
        Requirements were met.
   25

   26

   27

   28                                     4
          SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES IN FURTHER
               SUPPORT OF PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL
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    1 III.   CONCLUSION
    2        For all of the foregoing reasons, Plaintiff respectfully requests the Court
    3 dismiss the action with prejudice as to the Plaintiff and without prejudice as to the

    4 class, and enter the proposed Order.

    5 DATED: May 5, 2016                      Respectfully submitted,
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                                              BRODSKY & SMITH, LLC
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    8
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   17

   18                                         Attorneys for Plaintiff Vincent Zinni
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   28                                    5
         SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES IN FURTHER
              SUPPORT OF PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL
